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July 21, 2023

VIA ECF
Honorable Judge Jon S. Tigar
Oakland Courthouse,
Courtroom 6 – 2nd Floor
1301 Clay Street
Oakland, CA 94612

Re:      In re: Cathode Ray Tube (CRT) Antitrust Litigation
         Case No. 07-cv-05944-JST, Case No. 08-01559-JST

Dear Judge Tigar:

        We are writing this letter, with respect, as counsel for the Massachusetts Indirect Purchaser
Plaintiffs (“Massachusetts IPP”) to advise that we have fully resolved the issues with LG
Electronics, Inc., et al, (“LGE”) raised by the Court in its May 25, 2023 Order (ECF 6201).

        To provide further context, Massachusetts IPP’s counsel inadvertently included LGE as
defendants in a proposed amended complaint (despite those parties having previously been
dismissed) as a result of a drafting error. Thereafter, we advised LGE’s counsel the matter would
be corrected, but no follow up formal steps were taken toward that end. Thereafter, LGE wasted
resources on filings when a revised proposed complaint was not filed. As a result of this and other
failures, the Court subsequently granted LGE’s motion for sanctions and instructed the parties to
“meet and confer” to resolve the sanctions related issues.

       Counsel for Massachusetts IPP and Counsel for LGE have since then met and conferred
and agreed upon an appropriate remedy. A relevant stipulation reflecting the aforementioned
agreement was filed by counsel for Massachusetts IPP and Counsel for LGE. See ECF No. 6218.

       In connection with amicably resolving this issue, we wanted your Honor to know that
Massachusetts IPP counsel took the ruling to heart and deeply regret having failed to follow
through on the initial approach and in making other mistakes, including assuming no further filing
was necessary because Massachusetts IPPs represented they were no longer pursuing an
amendment to add LGE as a party. Plaintiffs’ counsel wish that this unfortunate circumstance had
not occurred and have taken steps to ensure these mistakes will never occur again.

       Therefore, and resulting from the parties’ amicable resolution of this matter with complete
seriousness, Massachusetts IPP counsel and counsel for LGE filed a stipulation (ECF No. 6218),


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motion (ECF No. 6219), and proposed order (ECF No. 6201). seeking to have the Court vacate its
prior Sanctions Order by agreement.

       Thank you for your attention to this matter.

                                                          Very truly yours,


                                                          /s/ Robert Bonsignore
                                                          Robert J. Bonsignore

                                                          /s/ Joseph Alioto
                                                          Joseph Alioto

                                                          Counsel for Massachusetts IPPs




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